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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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IN RE ESPAR ANTITRUST LITIGATION                                  ORDER

                                                                  15-MC-0940 (JG) (JO)
                                                                  15-CV-3872 (JG) (JO)
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JAMES ORENSTEIN, Magistrate Judge:

         Attorney Allan Steyer, Esq. is permitted to argue or try this case in whole or in part as counsel

or advocate. By July 15, 2015, Mr. Steyer shall register for ECF. Registration is available online at the

EDNY's homepage. Once registered, Mr. Steyer shall file a notice of appearance and ensure that he

receives electronic notification of activity in this case. Mr. Steyer shall also ensure that the $150

admission fee be submitted to the Clerk's Office.

         SO ORDERED.

Dated: Brooklyn, New York
       July 8, 2015
                                                                  _______/s/ _________
                                                                  JAMES ORENSTEIN
                                                                  U.S. Magistrate Judge
